      Case 3:12-cr-01254-L   Document 32   Filed 05/22/12    PageID.37       Page 1 of 1


                                                                           FILED
                                                                         I
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNI
                                                                             MAY 2 2 2012\
                                                                  :    CUo?,K:'" 3 :: 3·'<':, CCJRT    .•
                                                                  I"'~"'-'E"N r',~~   C :)F ::•• IFCRNI;..
UNITED STATES OF AMERICA,                  CASE NO. 12CR1254 'at"       :"1 c), ~ •               DEPUTY



                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
                                                                   I

ADRIANA MARTINEZ,

                       Defendant.


          IT APPEARING that the defendant is now            entitle~   to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government ~or dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary defay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defemdant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     21 USC 952 AND 960; 18:2 IMPORTATION OF COCAINE; AIOING AND ABETTING



          IT IS THEREFORE ADJUDGED that t                                             discharged.


 DATED: 5/22/2012
                                                   . CRAWFORD
                                            U.S. MAGISTRATE JUDGE
